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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF OREGON
                                  PORTLAND DIVISION

VAN LOO FIDUCIARY SERVICES LLC, an                                     Case No. 3:24-cv-00430-IM
Oregon Limited Liability Corporation, as
personal representative of the estate of,
IMMANUEAL JAQUEZ CLARK, deceased                      DEFENDANT CHRISTOPHER
                                                      SATHOFF’S ANSWER TO
                              Plaintiff,              PLAINTIFF’S FIRST AMENDED
                                                      COMPLAINT
       v.
                                                      (Request for Jury Trial)
CITY OF PORTLAND, a municipal
corporation, and CHRISTOPHER SATHOFF,

                              Defendants.


       For his Answer to Plaintiff’s Amended Complaint, Defendant Christopher Sathoff

(“Officer Sathoff”) hereby admits, denies, and alleges as follows:

                                                 1.

       In response to paragraph 1, Officer Sathoff admits Portland Police Bureau members

attempted to stop a car that Mr. Clark was standing near as part of an armed robbery investigation;

that based on the conduct of the individual now known as Mr. Clark, Officer Sathoff reasonably



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believed Mr. Clark presented an imminent lethal threat to himself and others; that Officer Sathoff

responded by firing from his service rifle; that Mr. Clark was injured; that Mr. Clark died; and that

Officer Sathoff’s conduct was found to be within the City’s policies. The remainder of the

allegations of this paragraph are either Plaintiff’s legal theories, legal conclusions, or allegations

to which Officer Sathoff does not have sufficient information to admit or deny and, on that basis,

denies. Except as expressly admitted, deny.

                                                  2.

       In response to paragraphs 2 and 3, these are Plaintiff’s venue and jurisdiction statements

to which no response is required.

                                                  3.

       In response to paragraph 4, Officer Sathoff does not have sufficient information to admit

or deny whether Plaintiff timely complied with ORS 30.275 or provided timely notice to all

necessary parties and, on that basis, denies.

                                                  4.

       In response to paragraphs 5, 6, 7, and 8, these are Plaintiff’s party statements, legal theories,

and legal conclusions to which no response is required. To the extent a response is required, Officer

Sathoff admits the City is an Oregon municipal corporation; and that Officer Sathoff is a law

enforcement officer for the City. Officer Sathoff is without sufficient information to admit or deny

whether Mr. Clark died intestate or his state of residency and, on that basis, denies those

allegations. Except as expressly admitted, deny.

                                                  5.

       In response to paragraphs 9, 10, 11, 12, 13, 14, 15, and 16 Officer Sathoff admits he assisted

with a robbery investigation that was occurring in the early morning hours of November 19, 2022;


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that Plaintiff’s representations of some of the CAD details in paragraphs 15 and 16 appear to be

accurate; and that based on transcripts of the initial call (that Officer Sathoff did not have access

to on the night in question) it appears the victim of the robbery did report 3 or 4 “definitely” white

males wearing ski masks had robbed him at gunpoint and fled in a sedan. Except as so admitted,

deny.

                                                  6.

        In response to paragraphs 17, 18, and 19, Officer Sathoff has insufficient knowledge to

admit or deny the timing or perceptions of Officer Brewer and, on that basis, denies those

allegations. The remainder of these paragraphs are Plaintiff’s legal conclusions and legal theories

that do not require a response. Except as expressly admitted herein above, deny.

                                                  7.

        In response to paragraphs 20, 21, 22, 23, 24, 25, 26, 27, 28, 29, 30, and 31 Officer Sathoff

admits police reports indicate Sgt. Francis identified a vehicle with at least three individuals inside

of it that Sgt. Francis believed was involved in an armed robbery; that between Sgt. Francis’s

observations and observations from an airplane the vehicle believed to be occupied by the suspects

in an armed robbery parked behind the Reedwood Friends Church; that some of the people that

had been in the car exited the vehicle; and that PPB Personnel including Officer Sathoff, Officer

Jackson, Sgt. Speer, Officer Postula, Officer Livingston, Officer Ables, and Officer Holsti arrived

on scene at various times. Officer Sathoff has insufficient knowledge to admit or deny the exact

timing or perceptions of other officers and, on that basis, denies those aspects of Plaintiff’s

allegations. Except as so admitted, deny.

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                                                 8.

       In response to paragraphs 32, 33, 34, 35, 36, 37, 38, 39, and 40, Officer Sathoff admits a

plan was formulated to address the individuals believed to be associated with the armed robbery.

The remainder of these paragraphs are Plaintiff’s legal conclusions and legal theories that do not

require a response. Except as admitted, deny.

                                                 9.

       In response to paragraphs 41, and 42, Officer Sathoff admits the named officers were

arranged in two police vehicles as described; and that Officer Sathoff had a PPB rifle with him.

Except as admitted, deny.

                                                10.

       In response to paragraphs 43, 44, 45, 46, 47, and 48, Officer Sathoff admits the takedown

lights of the police vehicles were activated at some point during the approach; that Officer Sathoff

exited the vehicle he was in; that two men ignored police commands and fled the area as police

arrived; and that no firearm was located in the vicinity of Mr. Clark. Except as admitted, deny.

                                                11.

       In response to paragraphs 49, 50, 51, 52, and 53 Officer Sathoff admits he fired three shots

from his service rifle; that shots were recorded within police radio traffic; and that Mr. Clark

appeared to react to the final shot. Except as admitted, deny.

                                                12.

       In response to paragraphs 54, 55, 56, 57, 58, 59, 60, 61, 62, 63, and 64, Officer Sathoff

admits Mr. Clark died. Officer Sathoff is without sufficient knowledge to admit or deny the

allegations contained in these paragraphs and, on that basis, denies. Except as admitted, deny.




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                                                   13.

          In response to paragraphs 65, 66, 67, 68, 69, 70, 71, 72, 73, 74, 75, 76, 77, 78, 79, and 80,

no response should be required as to Plaintiff’s legal conclusions and allegations specifically

directed at Defendant City of Portland. To the extent a response is required of Officer Sathoff to

these paragraphs, Officer Sathoff admits he was interviewed as part of the City’s review of this

incident; and that his conduct was ultimately found to be within policy. Officer Sathoff is without

sufficient knowledge or information to admit or deny the remaining allegations and, on this basis,

denies.

                                                   14.

          In response to paragraphs 81, 82, 83, 84, 85, 86, 87, 88, 89, and 90 these are Plaintiff’s

legal theories, legal conclusions, and prayer for damages to which no response is required. Officer

Sathoff admits he was acting as a Portland Police Officer at all times relevant to this matter; and

that his decision to fire was intentional. Except as admitted, deny.

                                                   15.

               FOR A FIRST AFFIRMATIVE DEFENSE, Officer Sathoff alleges:

                                         (Qualified Immunity)

          Officer Sathoff is entitled to qualified immunity from Plaintiff’s First Claim for relief in

that his conduct did not violate any clearly established right of Mr. Clark under the totality of the

circumstances he faced.

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                                                  16.

             FOR A SECOND AFFIRMATIVE DEFENSE, Officer Sathoff alleges:

                (Justification Common Law and statutory / Privileged / Good-Faith)

         The claims asserted and the conduct at issue arise out of the lawful, justified, privileged,

good-faith, and reasonable use of force under the totality of the circumstances Officer Sathoff

faced.

                                                  17.

              FOR A THIRD AFFIRMATIVE DEFENSE, Officer Sathoff alleges:

                                 (Self-Defense / Defense of Others)

         Officer Sathoff’s use of force was justified and privileged to protect himself and other from

a reasonable belief of an immediate threat of death or serious bodily injury.

                                                  18.

             FOR A FOURTH AFFIRMATIVE DEFENSE, Officer Sathoff alleges:

                                            (Good Faith)

         Officer Sathoff’s conduct, including the use of force, was undertaken in good faith.

                                                  19.

              FOR A FIFTH AFFIRMATIVE DEFENSE, Officer Sathoff alleges:

                                      (Oregon Tort Claims Act)

         Plaintiff’s Second Claim For Relief is subject to the limitations, conditions, and immunities

contained in the Oregon Tort Claim’s Act, ORS 30.260 et seq.

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                                               20.

            FOR AN SIXTH AFFIRMATIVE DEFENSE, Officer Sathoff alleges:

                   (Wrongful Death Damages are Limited to ORS 30.020(2))

       Plaintiff is not entitled to recover damages outside of the categories specified in ORS

30.020(2) on the second claim for relief.

                                               21.

           FOR A SEVENTH AFFIRMATIVE DEFENSE, Officer Sathoff alleges:

               (ORS 31.180 – Certain Felonious Conduct as Bar to Civil Action)

       Plaintiff’s Second Claim for Relief is subject to being barred by ORS 31.180 as Mr. Clark’s

felonious conduct was a substantial factor contributing to Officer Sathoff’s decision to use lethal

force and Mr. Clark’s death.



       WHEREFORE, having fully responded to Plaintiff’s Amended Complaint, Officer

Sathoff requests judgment in his favor and against Plaintiff with an award of costs and attorney

fees under 42 U.S.C. § 1988.

       DATED this 20th day of December, 2024.

                                                            s/ Aaron P. Hisel
                                                         Aaron P. Hisel, OSB #161265
                                                         Attorney for Defendant Christopher
                                                         Sathoff




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                                  CERTIFICATE OF SERVICE
       I hereby certify that I served the foregoing DEFENDANT CHRISTOPHER SATHOFF’S

ANSWER TO PLAINTIFF’S FIRST AMENDED COMPLAINT on:

        Jesse Merrithew                                  Carey Caldwell
        Sara Long                                        Portland City Attorney’s Office
        Levi Merrithew Horst PC                          1221 SW 4th Ave. Rm. 430
        610 SW Alder Street, Suite 415                   Portland, OR 97204
        Portland, OR 97205                                  Attorney for Defendant City of Portland
           Attorneys for Plaintiff

        J. Ashlee Albies
        Maya Rinta
        Albies & Stark
        1500 SW First Avenue, Suite 1000
        Portland, OR 97201
           Attorneys for Plaintiff

        Juan C. Chavez
        Oregon Justice Resource Center
        PO Box 5248
        Portland, OR 97208
          Attorney for Plaintiff

by the following indicated method or methods:

    ☒          by electronic means through the Court's Case Management/Electronic Case File system on the
               date set forth below;

               by emailing a copy thereof to each attorney at each attorney's last-known email address on the date
               set forth below;

               by mailing a full, true, and correct copy thereof in a sealed, first-class postage-prepaid envelope,
               addressed to plaintiff’s last-known address listed above and depositing it in the U.S. mail at Salem,
               Oregon on the date set forth below.


       DATED this 20th day of December, 2024.

                                                                  s/ Aaron P. Hisel
                                                                Aaron P. Hisel, OSB #161265
                                                                Attorney for Defendant Christopher
                                                                Sathoff




 CERTIFICATE OF SERVICE
